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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                         )
AMERICAN OVERSIGHT,                      )
                                         )
                              Plaintiff, )
                                         )
v.                                       )                Case No. 1:18-cv-02840-RBW
                                         )
U.S. DEPARTMENT OF JUSTICE ET AL.,       )                DECLARATION OF APRIL SUN IN
                                         )                SUPPORT OF MOTION FOR
                           Defendants. )                  ADMISSION PRO HAC VICE
                                         )


       I, April Sun, declare:

       1.          I make this Application under Local Rule 83.2(d) to appear in this case pro

hac vice on behalf of Plaintiff American Oversight. I have personal knowledge of the facts set

forth herein and, if called upon to testify about them, I could and would competently do so.

            2.     My full name is April Sun.

            3.     I am an associate with the law firm Goodwin Procter LLP, located at:

                   3 Embarcadero Center

                   San Francisco, CA 94111

                   (415) 733-6000

            4.     I am an attorney in good standing and currently eligible and licensed to

practice in the state of California, U.S. Court of Appeals for the Ninth Circuit, U.S. District

Court for the Central District of California, U.S. District Court for the Southern District of

California, and U.S. District Court for the Northern District of California.

            5.   I am not currently, and have never been, disciplined, suspended, or disbarred

by any court.

        6.         I have not been admitted pro hac vice before this Court at any time in the
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past two years.

        7.        I do not currently have an application for membership pending before the

 District of Columbia Bar.

        I declare under penalty of perjury that the foregoing is true and correct.


Dated: December 17, 2018                             Respectfully submitted,

                                                     /s/ April Sun
                                                     April Sun
                                                     GOODWIN PROCTER LLP
                                                     3 Embarcadero Center
                                                     San Francisco, CA 94111-4003
                                                     (415) 733-6000
                                                     ASun@goodwinlaw.com




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